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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY
                                ASHLAND DIVISION

  DAVID ERMOLD, ET AL.,                       :      CIVIL ACTION
                                              :
                Plaintiffs,                   :      0:15-CV-00046-DLB
                                              :
         v.                                   :      DISTRICT JUDGE
                                              :      DAVID L. BUNNING
  KIM DAVIS, ET AL.,                          :
                                              :
                Defendants.                   :


                     DEFENDANT KIM DAVIS’S NOTICE OF APPEAL

         Notice is hereby given that Defendant, Kim Davis, pursuant to 28 U.S.C. §1291 and Fed.

  R. App. P. 4(a)(4), appeals to the United States Court of Appeals for the Sixth Circuit from the

  Court’s Final Judgment (Doc. 166), entered December 28, 2023, and the Court’s Memorandum

  Opinion and Order (Doc. 175), entered April 23, 2024, denying Defendant’s Renewed Motion for

  Judgment as a Matter of Law.

                                                  /s/ Daniel J. Schmid
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Case: 0:15-cv-00046-DLB-EBA Doc #: 176 Filed: 05/21/24 Page: 2 of 2 - Page ID#: 3132




                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 21st day of May, 2024, I caused a true and correct copy of the

  foregoing to be electronically filed with the Court. Service will be effectuated on all counsel of

  record via the Court’s NEF/electronic notification system.

                                                /s/ Daniel J. Schmid
                                                Daniel J. Schmid




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